Case 1:13-cr-00220-JRH-BKE Document 387 Filed 10/01/14 Page 1 of 1



                   IN THE      UNITED     STATES      DISTRICT        COURT
                   FOR THE     SOUTHERN DISTRICT OF GEORGIA
                                  AUGUSTA DIVISION




UNITED     STATES    OF AMERICA                 *
                                                *


      V.                                        *               CR    113-220


VICTOR EDUARDO OVALLE,              JR.         *



                                           ORDER




      On     October       1,      2014,        the     Court        held     a    pre-trial

conference         to     address         all       pending         motions,       including

Defendant's        Motion      to Dismiss           on the     ground       that       he   is    a

Moorish     "sovereign citizen"                 (Doc.       356),    Motion       to Dismiss

for   lack    of    jurisdiction           (Doc.       357),    and     two       Motions        to

Produce      (Docs.       379,     386).            After    fully     considering           the

parties'     briefs and the arguments made at the hearing,                                   the

Court orally denied each motion.                        For the reasons stated in

the   record,       the     Court       hereby        reiterates        that      it    DENIES

Defendant's        motions        and     DIRECTS       the         Clerk   to     TERMINATE


Documents 356,          357,     379,   and 386.

      ORDER ENTERED at Augusta, Georgia, this                                  / —      day of

October,     2014.




                                                HONORABLE J./RANDAL HALL
                                                UNTpElD STATES DISTRICT JUDGE
                                                    50UTHERN DISTRICT OF GEORGIA
